     Case 1:14-cr-00226-DAD-BAM Document 45 Filed 03/13/15 Page 1 of 2



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 6
 7                               UNITED STATES DISTRICT COURT

 8                              EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                        Case No.: 1:14 CR00226 AWI-BAM
                                                      (005)
11                    Plaintiff(s),
                                                      WAIVER OF DEFENDANT’S
12          v.                                        PERSONAL PRESENCE AT
     Victor Alfonso Perez Virgen,                     PRETRIAL PROCEEDINGS;
13
                                                      ORDER THEREON
14                    Defendant(s).

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                      Pursuant to F.R. Crim. P. 43(b)(3), Defendant, Victor Alfonso Perez Virgen,
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     having been advised of his right to be present at all stages of the proceedings, hereby requests
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     that this Court proceed in his absence on every occasion that the Court may permit, pursuant to
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     this waiver. Mr. Virgen resides in Lodi, CA, is currently attending trade school, and will
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     commence working full time prior to his next court date. Defendant agrees that his interests
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     shall be represented at all times by the presence of his attorney, PETER M. JONES, the same
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     as if Defendant were personally present, and requests that this court allow his attorney-in-fact
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     to represent his interests at all times. Defendant further agrees that notice to Defendant’s
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     attorney that Defendant’s presence is required will be deemed notice to the Defendant of the
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     requirement of his appearance at said time and place.
     Case 1:14-cr-00226-DAD-BAM Document 45 Filed 03/13/15 Page 2 of 2



 1                 Mr. Virgen is currently in compliance with all his conditions under Pretrial

 2   Services.

 3   Dated: March 13, 2015                /s/VICTOR ALFONSO PEREZ VIRGEN
     _
 4                                               VICTOR ALFONSO PEREZ VIRGEN
 5
 6   Dated: March 13, 2015
 7
                                              /s/ PETER M. JONES_________________
 8                                                PETER M. JONES, Attorney for
                                                  Defendant, VICTOR ALFONSO PEREZ VIRGEN
 9
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11
                                               ORDER
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13                 GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
14   appearance may be waived at any and all non-substantive pretrial proceedings until further
15   order.
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17   IT IS SO ORDERED.
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        Dated:    March 13, 2015                            /s/ Barbara A. McAuliffe              _
19                                                    UNITED STATES MAGISTRATE JUDGE
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